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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Case No. 21-cr-426 (CKK)
                                              :
NICHOLAS HENDRIX,                             :
                                              :
                       Defendant.             :

                  GOVERNMENT’S RESENTENCING MEMORANDUM

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this resentencing memorandum. This Court

originally sentenced Nicholas Hendrix to a mix of imprisonment and probation as appropriate

under the 18 U.S.C. § 3553(a) sentencing factors. Because that sentence has been determined to

be invalid, the D.C. Circuit vacated the sentence and remanded to this Court for resentencing so

that the Court can impose a new lawful sentence.

       On January 6, 2021, while members of Congress gathered in the United States Capitol to

certify the results of the 2020 presidential election, Hendrix joined a large mob of rioters and

entered the Capitol through the Rotunda Doors despite police officers’ evident efforts to deny such

access. Closed and blocked doors with shattered glass, blaring alarms, and chanted demands from

other rioters to “Let us in” all provided notice to Hendrix and others that entry was prohibited. See

Government’s Sentencing Memorandum, ECF 41. Although Hendrix’s presence in the Capitol

was brief, amounting to approximately 90 seconds, by his own admission, he considered re-

entering the Capitol. Exposure to chemical spray deterred him.

         For this conduct, Hendrix pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(G):

Parading, Demonstrating, or Picketing in the Capitol Building. The Court sentenced Hendrix to a

“split sentence” – a term of imprisonment and a term of probation -- under Title 18 U.S.C. §
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3561(a)(3): Hendrix was sentenced to 30 days of incarceration followed by a term of three years

of probation, $500 in restitution, and a $10 special assessment. ECF 46. He completed his 30-day

prison term on February 24, 2023.

I.     Factual Background

       Hendrix tried and failed to persuade his friends to join him on a trip from his home in

Maine to the January 6, 2021 Save America rally in Washington, D.C. On January 5, 2021, Hendrix

drove alone from Maine to Newton, Massachusetts where he parked his car and boarded a bus for

the District of Columbia. He arrived at approximately 6:30 a.m. on January 6, 2021, wearing, as

depicted below, a camouflage-colored sweatshirt and carrying a flag and a sign that stated, “Stop

the Communist & Terrorist Revolution.”




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                   Figure 1: Facebook Post Recovered from Hendrix’s Phone

By the time of his arrival at the rally Hendrix also layered a shirt disparaging the President-elect

and the Vice-President-elect with an obscene remark.




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           Figure 2: Screenshot from Video from Hendrix’s
                               Phone




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                  Figure 3: Hendrix at the Capitol




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             Figure 4: FBI Photograph of Hendrix Displaying The T-Shirt He Wore
                              to the Capitol on January 6, 2021

       Hendrix attended the rally until approximately 1:14 p.m., and then walked to the Capitol.

At approximately 2:12 p.m., he made a video recording using his mobile telephone as he walked

past barriers along the boundary of the Capitol’s west lawn. By approximately 3:00 p.m., Hendrix

arrived at the Capitol’s East Plaza. As the background of Figure 3 above shows in part, a crowd

was located on the East Plaza and surrounding lawn, and at the foot of the Capitol steps leading to


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the East Door. After posing for photographs like the one shown in Figure 3, Hendrix walked to

the steps below the East Door where the crowd was most dense, as shown below in Figure 5:




  Figure 5: Photograph from Hendrix’s Phone Showing His Approach towards the East Door

       Hendrix chose not to remain with the crowd at the East Plaza or at the foot of the Capitol

steps. Instead, he ascended through the packed crowd where, at approximately 3:08 p.m., he

reached the area just outside of the East Door. There, he made several recordings as the crowd

massed outside the door chanted “Let us in!”

       Within approximately one minute of Hendrix’s arrival at the top of the steps, police inside

of the building were able to close the East Doors at 3:09:15-20 p.m. to keep the crowd outside

from entering the Capitol.



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          Figure 6: Screenshot From Interior Surveillance Camera Footage Showing
                  East Interior Doors Closed at Approximately 3:09:20 p.m.

Seconds later, at 3:09:59, Hendrix recorded the crowd outside of the East Doors in a video that

begins with chants of “Let us in!” A screenshot from that video showing his proximity to the

entrance appears below in Figure 7.




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            Figure 7: Screenshot from Hendrix’s Cellphone Recording by East Door
                           That Begins With Chants of “Let Us In”

       At 3:11:02, Hendrix created another video that began with a shout of “Let us in!”

Approximately five seconds into the video, the crowd cheers as one of the interior East Doors

opens and members of the crowd inside appear to be ejected from the building. Alarms are audible

as the rioters rush out of the door. At approximately the same time, interior surveillance camera

footage shows a rioter opening one of the interior East Doors and leaving the building followed

by members of the crowd that police then push out.




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 Figure 8: Screenshot from Interior Surveillance Camera Footage of Rioters Exiting at 3:11:25

       At 3:11:46, Hendrix created another video lasting approximately 4 minutes that shows the

crowd from inside continuing to exit as alarms blare; displays broken glass in the interior doors;

and records another shout of “Let us in,” and a rioter crying “Now they’ll have to start shootin’

us.” The recording continues as it captures the exiting rioters as they celebrated with chants of

“USA” and as a line of police officers (and later, a member of the press) passed through the crowd

and, with difficulty, entered the Capitol. Hendrix’s video also recorded a shout from the crowd,

taunting, “Are we holding up Congress? Are they a little upset?” and the shouted reply, “Fuck

them.” After the officers entered, the recording shows that Hendrix approached the doorway and

entered the Capitol. As he did, different people in the crowd shouted “Push” and an officer is

visible briefly who appears to be pushing against the crowd from inside the Capitol. Once he

entered the Capitol, Hendrix also recorded a glimpse of his own face.




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                            Figure 9: A screenshot of Hendrix’s Face
                            From a Recording in His Cellphone of His
                                      Entry Into the Capitol

       A surveillance camera also recorded Hendrix as he entered the Capitol with his flag and

poster. The footage shows Hendrix in the doorway with his cellphone raised and captures his

voluntary approach to the entrance. This footage also shows Hendrix near the entrance as the

crowd begins to push, creating momentum that carried Hendrix into the building. After Hendrix

was clearly past the entrance, he appears to stumble briefly, but remains smiling for the duration

of his time inside the Capitol. He never lost hold of his flag or his phone, and kept the poster that


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       The intrusion of Hendrix and others at 3:15 p.m. created a potentially dangerous situation

for anyone inside the East Doors. A straight line from that doorway leads into a set of doors to the

Rotunda. By 3:10 p.m., reinforcements from the Metropolitan Police Department had joined U.S.

Capitol Police inside the Rotunda in an effort to sweep an earlier crowd of intruders from the

Rotunda and out of the building. By 3:12 p.m., members of the crowd from the Rotunda began to

flow out of that area towards the East Doors and continued to do so. The crowd inside formed by

this outflow was already dense as Hendrix and others entered, as shown in the foreground of Figure

10, above. Hendrix’s own recording provides an image of the crowd that continued to flow

towards the East Doors from the Rotunda after he entered:




            Figure 12: Screenshot from Hendrix’s Video Showing Rotunda Doorway

Surveillance footage and Hendrix’s own recording show that the area directly inside the Rotunda

Doors was not capable of safely accommodating the large crowd of rioters in that area plus the

substantial crowd attempting to force its way inside.




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       Hendrix’s interior video documents certain risks from entering the Capitol. It includes a

rioter stating that someone was shot, and “that’s why they want us out.” Before the video ends as

Hendrix was attempting to leave the building, it also reflects the difficulty members of the crowd

had when attempting to exit.

       Even so, Hendrix did not leave the Capitol grounds or even leave the area just outside of

the East Doors. Instead, he returned to the threshold of the East Doors and stood facing the police

line as he recorded exiting rioters, the sound of alarms, the police line, and chants of “Fight for

Trump” and “Hang Mike Pence.” He was close enough to capture the image below of police using

shields to barricade the entrance:




              Figure 12: Screenshot from a Video Recovered from Hendrix’s Phone
                                After His Exit From the Capitol

       Despite the conditions he had just witnessed, Hendrix remained in the doorway blocking

the exit even as other rioters, with increasing agitation, shouted at members of the crowd like

Hendrix to “back up” and to “make a hole” for them to pass through. Hendrix remained where he



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was, seeking to re-enter the Capitol. He recorded a physical confrontation with a police officer

who tried to close the East Doors. Hendrix remained close enough to the police line to record the

image below as officers attempted to disperse the crowd with chemical irritant spray at

approximately 3:42 p.m.




            Figure 13: Screenshot from Recording Recovered from Hendrix’s Phone

       Hendrix left the doorway only after his exposure to the chemical spray. He later returned

to the boarding area for his bus and left Washington at about 6:30 p.m., arriving at his home in

Maine on January 7, 2022.

       Two weeks later, on January 21, 2021, the FBI contacted Hendrix and he agreed to meet

with agents at a local parking lot. During that meeting, Hendrix admitted that he entered the

Capitol, stating that the crowd “pushed themselves” inside. He explained that he left the building

after one or two minutes and attempted to re-enter but left after he was hit with pepper spray.

According to Hendrix, he believed that United States Capitol Police were not offering much

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resistance to entry and he thought the police were “quitting” and allowing the crowd to go inside.

See ECF 1-1 at 2. He admitted he knew it was illegal for him to enter the Capitol and he allowed

agents to obtain certain photographs and videos and videos taken on January 6 from his phone. Id.

       On March 25, 2021, Hendrix spoke again with FBI agents. He provided additional details

about his travel from Maine to Washington, D.C. on January 6. He identified himself and signed

and dated screenshots of his face, such as the one shown above in Figure 9. Hendrix also produced

the shirt, sunglasses, and poster that he wore on January 6 and allowed agents to photograph them.

See, e.g., Figure 4, above. Except for Facebook posts showing his arrival at the Massachusetts bus

station and his arrival in Washington, D.C., Hendrix denied using social media to share content

about the attack on the Capitol on January 6.


II.    Procedural Background

       On May 25, 2021, the United States charged Hendrix by criminal complaint with violating

18 U.S.C. §§ 1752(a)(1) and (a)(2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G). ECF 1. On May 27,

2021, law enforcement officers arrested him in Portland, Maine. ECF 5; PreSentence Investigation

Report (PSR) (February 9, 2024) ¶ 5. On June 23, 2021, the United States charged Hendrix by a

four-count Information with violating 18 U.S.C. §§ 1752(a)(1) and (a)(2) and 40 U.S.C. §§

5104(e)(2)(D) and (G). ECF 9; PSR ¶ 1. On June 27, 2022, pursuant to a plea agreement, Hendrix

pleaded guilty to Count Four of the Information, charging him with a violation of 40 U.S.C. §

5104(e)(2)(G). ECF 35, 36; PSR ¶ 4. By plea agreement, Hendrix agreed to pay $500 in restitution

to the Department of the Treasury, which he ultimately paid early, before sentencing. ECF 49 at

35.

       Hendrix faced a statutory maximum penalty of incarceration for six months, 40 U.S.C. §

5109(b), or of probation for five years, and a possible maximum fine of $5,000, 18 U.S.C. §

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3571(b)(6). On December 9, 2022, this Court sentenced Hendrix to 30 days’ incarceration, well

below the statutory maximum, three years’ probation, $500 in restitution, a $10 special assessment,

and no fine. ECF 46; PSR ¶ 7a; ECF 49 at 32. His conditions of probation included a restriction

that Hendrix not own, possess, or have access to a firearm, ammunition, destructive device, or

dangerous weapon. ECF 46 at 4. At sentencing, this Court also authorized transfer of supervision

of Hendrix’s probation to the District of Maine, ECF 49 at 32; 46; PSR ¶ 7d. Hendrix completed

his imprisonment term on February 24, 2023. PSR ¶ 7b.

       At sentencing, Hendrix had argued for a non-incarcerative sentence consisting only of a

term of probation. And once this Court pronounced his sentence, Hendrix objected to a split

sentence based on the then-pending appeal in Little. In response, this Court explained, “They’re

[the court of appeals] not deciding I can’t sentence him to 30 days. The question is whether I can

do a sentence that includes probation.” ECF 49 at 36. When asked to substitute the term of

incarceration with an additional probation condition of home confinement to avoid the issue

presented in Little, this Court declined to do so, answering:

       No. I have -- you know, as I said, I was quite appalled when I looked at the videos.
       I had expected something different, particularly where we’re talking about just a
       90-second time in the Capitol. When I looked at what he was involved with in terms
       of his -- with the other -- in terms of dealing with the -- you know, the police at that
       point over, certainly, a more extended period, I think it’s appropriate. It’s different
       than any of the other cases that I have. And I think in terms of the context of my
       other cases that I have, to give him simply home confinement would not be parity
       and I don’t think is appropriate in this case.

ECF 49 at 37.

       As reflected above, Hendrix appealed his split sentence. Following the ruling in Little,

the D.C. Circuit ordered that he be resentenced (Case No. 22-3103).

       On November 25, 2023, Hendrix was arrested in Maine as a result of a traffic stop and

charged with illegal possession of a firearm and unlawful possession of a scheduled drug. At the


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time of the stop, Hendrix was driving his own vehicle with two passengers, one of whom was also

on probation. PSR ¶ 7g. According to the police report for the arrest, Hendrix possessed a 9

millimeter Taurus Millenium G2 pistol and additional ammunition of various calibers. See PSR ¶

7g. The pistol was fully loaded with a round in the chamber. Additional ammunition located in

Hendrix’s truck included four .45 caliber rounds; six .40 caliber rounds; 13 .357 caliber rounds;

seven 9 millimeter rounds; three 7.62 rounds; one .270 caliber round; two 12 gauge shells; one .50

caliber round; and one pistol magazine.

       When questioned by the officer conducting the stop, Hendrix denied that any weapons were

in his vehicle and stated that he could not have weapons. When Hendrix stepped out of his vehicle,

the officer asked if Hendrix had any weapons on him; Hendrix said he did not and allowed the

officer to pat him down. In the floorboard area of the driver’s seat, the officer discovered the

Taurus 9 millimeter pistol. When the officer asked Hendrix why he did not say there was a pistol

in the car, Hendrix responded that there were BB guns in the car. The officer replied that the pistol

was not a BB gun.

       The scheduled drug charge arose from prescription pills the arresting officer found in a tin

on Hendrix’s person containing the pills, powder and a straw. Hendrix told the officer that he

snorts his medicine, old habits die hard, and his doctor did not know he was snorting his

medication.

       On December 13, 2023, the Probation Office submitted a violation petition arising from

the arrest. ECF 57. State prosecutors subsequently declined to prosecute those charges.

       This Court scheduled a hearing on the probation violation for January 9, 2024. December

21, 2023 Minute Order. In light of the entry of judgment in Hendrix’s direct appeal, however, and

at the request of the parties, the Court vacated the revocation hearing and scheduled Hendrix’s



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resentencing. December 21, 2023 Minute Order (vacating hearing); January 9, 2024 Minute Order

(setting resentencing).


III.   In Compliance With The Mandate, The Court Should Impose A New Lawful
       Sentence.

       There is no dispute that Hendrix’s split sentence of incarceration and probation is unlawful

under the D.C. Circuit’s decision in United States v. Little, 78 F.4th 453 (D.C. Cir. 2023). And, as

in Little, the D.C. Circuit remanded for resentencing here. Id. at 461 (“So we vacate Little’s

sentence and remand to the district court for resentencing.”); see United States v. Hendrix, Case

No. 22-3103, (D.C. Cir. Dec. 2023) (document number 2032622) (granting joint motion to remand

for resentencing, styled as a motion to govern future proceedings, and ordering “that the case be

remanded for resentencing”). This Court must comply with that mandate by imposing a lawful

sentence. See United States v. Little, No. 21-CR-315-RCL, 2024 WL 181260 at *3-7 (denying

Little’s motion to remove or terminate probation where the D.C. Circuit had vacated the sentence

and remanded the case for resentencing, noting that “[t]he mandate rule requires the Court to obey

that directive by resentencing Little”).

       At the same time, Hendrix should receive credit for time already served. See Little, 2024

WL 181260 at *6 (D.D.C. Jan. 17, 2024) (“the Court may impose an additional punishment on

Little so long as it appropriately credits the time Little served in prison and on probation against

the punishment”); United States v. Martin, 363 F.3d 25, 37-38 (1st Cir. 2004) (unlawful term of

probation must be credited against any subsequent sentence of incarceration); United States v.




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Lominac, 144 F.3d 308, 318 (4th Cir. 1998) (unlawful term of supervised release must be credited

against any subsequent sentence of incarceration). 1

        Accordingly, the government submits that upon resentencing, the Court has three options:

a term of probation or incarceration equal to the amount of time already served; a term of probation

longer than the time already served, with credit for time already spent on probation and “extra”

credit for time spent in custody; or a term of incarceration longer than the time already served,

with credit for time already spent in custody and some kind of credit for time already spent on

probation. 2




1
  Because probation is a less restrictive penalty than incarceration, crediting time served on
probation against a future term of incarceration, or crediting time incarcerated against a future term
of probation, should not be “a day-to-day offset.” Martin, 363 F.3d at 39. While the precise
crediting ratio in this case is for the district court to consider, the specific ratio should derive from
a “fact-based inquiry” that looks to “the specific conditions of [defendant’s] probation and the
effect of [any crediting] on the underlying purposes of the [sentencing statute] as set out in 18
U.S.C. 3553(a).” Id.
2
 The resentencing in Little is instructive. Little was originally sentenced to a split sentence of 60
days’ imprisonment and 36 months’ probation. At the time of resentencing, after remand from the
D.C. Circuit, Little had completed his term of imprisonment and approximately 18 months of
probation. At the resentencing, the court imposed a prison sentence of 150 days. See Little, No.
21-CR-315-RCL, Minute Entry for Resentencing (Jan. 25, 2024); see also Little, 21-CR-315-RCL,
ECF 73 (Notes for Resentencing). The court credited the 60 days of incarceration that Little
previously served and gave an additional 30 days of credit against the new sentence for the 18
months of probation already served, noting that Little “has spent essentially no time in compliance
with the terms and conditions of his probation.” Little, 21-CR-315-RCL, ECF 73 at 2 (Notes for
Resentencing). Thus, after accounting for 90 days of credit for time previously served, Little will
serve an additional 60 days of prison under the lawful sentence imposed at resentencing.

United States v. Mazzio, No. 22-cr-214-RCL, is another case in which a January 6 defendant was
sentenced to a split sentence of 60 days’ incarceration and 36 months’ probation for the
commission of a single petty misdemeanor. At the time of resentencing, after remand from the
D.C. Circuit, Mazzio had completed the term of imprisonment and approximately 14 months of
probation. At the resentencing, the court imposed a probationary sentence of 46 months, crediting
Mazzio, who had been fully compliant with the terms of his probation, with 14 months already
spent on probation and with 20 months for the 60 days in prison. United States v. Mazzio, No. 22-
cr-214-RCL, Minute Entry for Resentencing (Jan. 31, 2024). Thus, after accounting for 34 months
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       So long as credit is given for time already served, the Double Jeopardy Clause does not bar

the imposition of an increased punishment at resentencing where a defendant does not have a

legitimate expectation of finality in the sentence originally imposed. See United States v. Fogel,

829 F.2d 77, 87 (D.C. Cir. 1987) (“If a defendant has a legitimate expectation of finality, then an

increase in that sentence is prohibited by the double jeopardy clause. If, however, there is some

circumstance which undermines the legitimacy of that expectation, then a court may permissibly

increase the sentence.”); see also United States v. DiFrancesco, 449 U.S. 117, 137 (1980) (“the

Double Jeopardy Clause does not require that a sentence be given a degree of finality that prevents

its later increase”). Here, Hendrix can have no legitimate expectation of finality in his split

sentence because he has challenged the legality of that sentence, and the appellate court has

remanded for resentencing. See Little, 2024 WL 181260 at *5 (“Here, Little lacked a legitimate

expectation of finality . . . because he received an illegal sentence and challenged it on direct

appeal”).

       Courts have widely recognized that a more severe punishment can be imposed at

resentencing even after service of the original unlawful sentence has begun. See, e.g., Little, 2024

WL 181260 at 5 (“An increased punishment is permissible even if the defendant has begun serving

the original, illegal sentence, although any punishment already incurred must be credited against

the increased punishment.”); Hayes, 249 F.2d at 517-18 (“a sentence which does not conform with

the applicable statute [because it is below the statutory minimum] may be corrected though

defendant . . . has begun to serve it”); Lominac, 144 F.3d at 317-18 (remanding to district court for

resentencing after vacating supervised release component of split sentence, noting that term of



of credit, Mazzio will serve an additional 12 months of probation under the lawful sentence
imposed at resentencing.

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incarceration could be adjusted upwards even after defendant completed originally imposed term

of incarceration), abrogated on other grounds by Johnson v. United States, 529 U.S. 694 (2000);

United States v. Versaglio, 85 F.3d 943, 949 (2d Cir. 1996) (remanding to district court to consider

imposition of increased fine after invalidating incarceration component of split sentence even after

defendant already paid originally imposed fine in full); United States v. Holmes, 822 F.2d 481,

498 (5th Cir. 1987) (“Correction of a sentence can occur even if service of the sentence has begun,

even if the correct sentence may be more onerous to the defendant than the original.”) (citation

omitted); Christopher v. United States, 415 A.2d 803 (D.C. 1980) (affirming sentencing court’s

sua sponte correction of illegal split sentence by eliminating probation component and imposing

term of incarceration greater than that originally imposed where defendant had already begun

serving sentence).

IV.    The Court Should Resentence Defendant Based on the § 3553(a) Sentencing Factors.

       The overall purpose of the resentencing inquiry, like an original sentencing, is to ensure

that the sentence is “sufficient, but not greater than necessary, to fulfill the purposes of [18 U.S.C]

§ 3553(a).” United States v. Palmer, 89-cr-36-RCL, 2023 WL 2265255, at *4 (D.D.C. Feb. 28,

2023) (cited authorities omitted). Accordingly, the government incorporates by reference its

analysis of the § 3553(a) factors set forth in its original sentencing memorandum, ECF 41.

       The Supreme Court in Pepper v. United States, 562 U.S. 476, 481 (2011), held that when

a “sentence has been set aside on appeal, a district court at resentencing may consider evidence of

the defendant’s post-sentencing rehabilitation” (emphasis added). Courts have interpreted the

principle articulated in Pepper to permit district courts to consider post-sentencing conduct

evidence that “does not always benefit the defendant” and “evidence of bad acts occurring after

the defendant was originally sentenced.” United States v. Lawrence, No. 03-cr-92-CKK, 2020 WL



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5253890, at *7 (D.D.C. Sept. 3, 2020), aff'd, 1 F.4th 40 (D.C. Cir. 2021) (quoted authorities

omitted).

       Accordingly, in addition to the analysis of Section 3553(a) factors incorporated herein from

the United States’ earlier sentencing memorandum, this Court should consider the circumstances

of Hendrix’s November, 2023 arrest. Those circumstances have relevance for several of the

statutory factors, including Hendrix’s history and characteristics, 18 U.S.C. § 3553(a)(1), and the

need for his sentence to promote respect for the law, afford adequate deterrence to criminal

conduct, and protect the public from further crimes of the defendant, 18 U.S.C. § 3553(a)(2)(A),

(B) and (C).

       At his original sentencing, Hendrix invoked his characteristics during his allocution when

he stated, referring to his offense of conviction, “I hope you might view me as more than this error.

I am better than my actions on January 6th. … I maintain my sobriety. I have learned from this

and will continue to work on being a better person, Your Honor.” ECF 49 at 15.

       Yet Hendrix has apparently not learned from his conviction in the instant case. When

stopped, he concealed the presence of a fully loaded weapon from an officer, compromising that

officer’s safety. He then lied to the officer, falsely stating that his fully loaded pistol was a BB

gun. He additionally minimized his misuse of medication with the remark, “old habits die hard,”

while admitting that his doctor was unaware of his abuse of the prescription. Hendrix’s dishonesty

regarding the pistol and his attitude towards the misuse of his prescription are characteristics that

weigh in favor of a greater sentence.

       At the time of his November arrest, and by his own admission, Hendrix believed that he

was on probation and subject to the conditions this Court ordered. While the United States

acknowledges the ruling in Little and its application here, that does not detract from Hendrix’s



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decision to disobey an order from this Court that Hendrix believed was in full force. His

willingness to disregard that order and to lie to an officer displays a continued lack of respect for

the law and demonstrates a need for deterrence that is even more apparent now that at the time his

sentence was originally imposed.

       Hendrix is a recovering addict and as this Court noted on the record, he has PTSD. ECF

49 at 18. His access to and possession of a firearm represents a public safety concern. See also

PSR ¶68(c) n.2 (addressing the safety concerns for supervising Probation officers). 3 The risk that

Hendrix may commit additional crimes can only be greater if he compromises his judgment or

aggravates existing conditions through his abuse of medication. Such concerns also weigh in favor

of a greater rather than a lesser sentence.

       The United States recommends that the Court sentence Hendrix to a term of probation that

will, including any credit for prior probation and incarceration, comport with the Court’s original

intention of Hendrix serving three years of probation; the United States further recommends that

this Court impose a condition of probation that prohibits Hendrix’s possession of and access to

firearms and other dangerous weapons, along with other appropriate conditions Such a sentence

would be “sufficient, but not greater than necessary to comply with the purposes [of the sentencing

statute],” 18 U.S.C. § 3553(a), and would effectuate the intent and effect of the original sentence.

IV.    Conclusion

       For the reasons set forth above, the government respectfully requests that the Court

resentence Hendrix in accordance with the statutory sentencing factors and impose a term of

probation that will, including any credit for prior probation and incarceration, comport with the



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 The PSR now addresses the condition restricting possession of and access to firearms and
dangerous weapons in Paragraph 68 instead of Paragraph 67. This Court’s discretion to impose
the condition remains.
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Court’s original intention of Hendrix serving three years of probation; the United States further

recommends that this Court impose a condition of probation that prohibits Hendrix’s possession

of and access to firearms and other dangerous weapons, along with other appropriate conditions.

                                     Respectfully submitted,

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